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____________________________________________________________________________
                                                   SO ORDERED,




                                                   Judge Jason D. Woodard
                                                   United States Bankruptcy Judge


       The Order of the Court is set forth below. The case docket reflects the date entered.
____________________________________________________________________________

                         UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF MISSISSIPPI


IN RE: TYRONE PEARSON                                                CHAPTER 7

DEBTOR                                                               CASE NO. 22-11617 JDW

                    ORDER AVOIDING JUDICIAL LIEN [DKT. NO. 9]

       THIS MATTER came before the Court on the motion of Debtor’s Motion to Avoid

Judicial Lien of 1st Franklin Financial (the “Creditor”) pursuant to 11 U.S.C. § 522 (f) and

Federal Rules of Bankruptcy Procedure 4003(d) and 9014 (the “Motion”)(Dkt. No. 9). The

Debtor has represented to the Court that all parties in interest were timely served with the

Motion, and no party has objected to the relief requested in the Motion by the deadline set by the

Court. Based on the Debtor’s representations, the Court finds and concludes as follows:

       1.       The Debtor exempted her homestead real property, as well as certain

personal property, all as listed on Scheduled C filed by the Debtor in this bankruptcy case.

       2.       The Creditor recorded a judicial lien against Debtor’s property on December 15,

2020, as follows:

               Location of Judgment Rolls: Justice Court of Lafayette County, MS
               Case Number: 0181380
               Date of Rendition: December 15, 2020
               Amount: $1906.55 plus interest and costs
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       3.      The Existence of the Creditor’s lien against the Debtor’s property impairs

exemptions to which the Debtor would be entitled under Title 85, Chapter 3 of the Mississippi

Code and 11 U.S.C. § 522(d). Accordingly, it is hereby

       ORDERED, ADJUDGED AND DECREED that

       1.      The Motion it GRANTED.

       2.      To the extent the Debtor’s exemptions, the judicial lien held by the Creditor as

set forth is AVOIDED and shall not survive bankruptcy, affix to, or remain enforceable against

the Debtor’s exempt property, unless the case is dismissed prior to the entry of the Debtor’s

discharge.

       3.      A copy of the Order of Discharge is to accompany any recordation of this Order.

       4.      To the extent the Creditor’s lien has been avoided, the Creditor shall be treated as

a general unsecured creditor in this case.

                                      ##ENDOFORDER##



SUBMITTED BY:


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